        CASE 0:18-cr-00150-DWF-HB Document 189 Filed 03/18/20 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. 18-150(1) (DWF/HB)

 UNITED STATES OF AMERICA,                  )
                                            )
                      Plaintiff,            )
                                            )    GOVERNMENT’S MOTION TO
         v.                                 )    SEAL DOCUMENT AND
                                            )    ATTACHMENTS
 MICHAEL HARI,                              )
                                            )
                      Defendant.            )

        The United States of America, by and through its attorneys, Erica H. MacDonald,

United States Attorney for the District of Minnesota, and Kimberly A. Svendsen, Assistant

United States Attorney, hereby moves the Court for an Order sealing a specific document,

including its attachments, in the above-referenced matter. The document at issue is a

response to a motion by the defendant which the Court has previously ordered filed under

seal.

        This motion is based upon the records and proceedings in this matter.

Dated: March 18, 2020                            Respectfully Submitted,

                                                 ERICA H. MACDONALD
                                                 United States Attorney

                                                 s/Kimberly A. Svendsen

                                                 BY: KIMBERLY A. SVENDSEN
                                                 Assistant United States Attorney
